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2024R00312/HH




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                   :    Hon. Susan D. Wigenton
                                            :
       v.                                   :    Crim. No. 24-409
                                            :
 ERIE AGUSTIN                               :    18 U.S.C. § 371
                                            :

                                 INFORMATION

       The defendant having waived in open court prosecution by Indictment, the

United States Attorney for the District of New Jersey charges:

                     (Conspiracy to Pay and Receive Kickbacks)

       1.       Unless otherwise indicated, at all times relevant to this Information:

                                    The Defendant

                a.      Defendant ERIE AGUSTIN was a resident of New York and a

licensed physician.        Defendant ERIE AGUSTIN was an enrolled Medicare

provider and submitted claims to Medicare for payment.

                         Relevant Laboratories and Individuals

                b.      “Laboratory Company 1” and “Laboratory Company 2” were

laboratories located in New York with common ownership. Laboratory Company

1 and Laboratory Company 2 were enrolled Medicare providers and submitted

claims to Medicare for payment.

                c.      “Laboratory Company 3” was a laboratory located in

Secaucus, New Jersey. Laboratory Company 3 served as a reference laboratory

that performed genetic testing on specimens referred by Laboratory Company 1

and Laboratory Company 2.
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            d.     “Co-Conspirator 1” was a resident of New York and a

representative of Laboratory Company 1.

                            The Medicare Program

            e.     The Medicare Program (“Medicare”) was a federally funded

health care program that provided free or below-cost benefits to certain

individuals, primarily the elderly, blind, or disabled.    The benefits available

under Medicare were governed by federal statutes and regulations. Medicare

was administered by the Centers for Medicare and Medicaid Services (“CMS”), a

federal agency within the U.S. Department of Health and Human Services

(“HHS”).

            f.     Medicare was a “health care benefit program,” as defined in

Title 18, United States Code, Section 24(b), and a “Federal health care program,”

as defined in Title 42, United States Code, Section 1320a-7b(f). Individuals who

received Medicare benefits were referred to as “beneficiaries.”

            g.     Medicare was divided into four parts: hospital insurance (Part

A), medical insurance (Part B), Medicare Advantage (Part C), and prescription

drug benefits (Part D). Medicare Part B covered medically necessary physician

office services and outpatient care, including laboratory tests.

            h.     Physicians, clinics, laboratories, and other health care

providers (collectively, “providers”) that provided items and services to Medicare

beneficiaries were able to apply for and obtain a “provider number.” Providers

that received a Medicare provider number were able to file claims with Medicare

to obtain reimbursement for services provided to beneficiaries.


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            i.     When seeking reimbursement from Medicare for provided

benefits, services, or items, providers submitted the cost of the benefit, service,

or item provided together with a description and the appropriate “procedure

code,” as set forth in the Current Procedural Terminology (“CPT”) Manual or the

Healthcare Common Procedure Coding System (“HCPCS”). Additionally, claims

submitted to Medicare seeking reimbursement were required to include: (i) the

beneficiary’s name; (ii) the date upon which the benefit, item, or service was

provided or supplied to the beneficiary; and (iii) the name of the provider, as well

as the provider’s unique identifying number, known either as the Unique

Physician Identification Number (“UPIN”) or National Provider Identifier (“NPI”).

Claims seeking reimbursement from Medicare were able to be submitted in hard

copy or electronically.

            j.     Medicare, in receiving and adjudicating claims, acted through

fiscal intermediaries called Medicare administrative contractors (“MACs”), which

were statutory agents of CMS for Medicare Part B.         The MACs were private

entities that reviewed claims and made payments to providers for services

rendered and items provided to beneficiaries. The MACs were responsible for

processing Medicare claims arising within their assigned geographical area,

including determining whether the claim was for a covered service or item.

            k.     To receive Medicare reimbursement, providers needed to have

applied to the MAC and executed a written provider agreement. The Medicare

provider enrollment application for physicians and non-physician practitioners,




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CMS Form 855I, was required to be signed by the provider. CMS Form 855I

contained a certification that stated:

            I agree to abide by the Medicare laws, regulations and
            program instructions that apply to me or to the organization
            listed in section 4A of this application. The Medicare laws,
            regulations, and program instructions are available through
            the Medicare Administrative Contractor. I understand that
            payment of a claim by Medicare is conditioned upon the claim
            and the underlying transaction complying with such laws,
            regulations and program instructions (including, but not
            limited to, the Federal Anti-Kickback Statute, 42 U.S.C.
            section 1320a-7b(b) . . . ).

            l.     In executing CMS Form 855I, providers further certified that

they “w[ould] not knowingly present or cause to be presented a false or

fraudulent claim for payment by Medicare and w[ould] not submit claims with

deliberate ignorance or reckless disregard of their truth or falsity.”

            m.     Medicare paid for claims only if the items or services were

medically reasonable, medically necessary for the treatment or diagnosis of the

patient’s illness or injury, documented, and actually provided as represented to

Medicare.   Medicare would not pay for items or services that were procured

through kickbacks and bribes.

            n.     In   certain   limited       circumstances,   Medicare   permitted

laboratories to establish arrangements with so-called “reference laboratories.”

Such arrangements existed when a laboratory received a specimen for testing,

but instead of testing the specimen in-house, the laboratory acted as a “referring

laboratory” by sending the specimen to another laboratory, the “reference

laboratory,” to complete the testing.



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                                 Genetic Tests

            o.     Cancer genetic tests were laboratory tests that used DNA

sequencing to detect mutations in genes that could lead to a higher risk of

developing cancer or to assist in the treatment of an existing cancer. Cancer

genetic tests were not a method of diagnosing, in the first instance, whether an

individual had cancer.

            p.     In order to have a cancer genetic test performed, an individual

typically provided a saliva sample, which contained DNA material (“specimen”).

The specimen was then transmitted to a laboratory for testing.

            q.     DNA specimens were submitted along with laboratory

requisition forms that identified the patient, the patient’s insurance, and the

specific test to be performed.   In order for laboratories to submit claims to

Medicare for cancer genetic tests, the tests had to be approved by a physician or

other authorized medical professional who attested to the medical necessity of

the test.

            r.     Medicare did not cover diagnostic testing, including cancer

genetic testing, that was “not reasonable and necessary for the diagnosis or

treatment of illness or injury or to improve the functioning of a malformed body

member.” 42 U.S.C. § 1395y(a)(1)(A). Except for certain statutory exceptions,

Medicare did not cover “[e]xaminations performed for a purpose other than

treatment or diagnosis of a specific illness, symptoms, complaint, or injury.” 42

C.F.R. § 411.15(a)(1).




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             s.    If diagnostic testing was necessary for the diagnosis or

treatment of illness or injury or to improve the functioning of a malformed body

member, Medicare imposed additional requirements before covering the testing.

Title 42, Code of Federal Regulations, Section 410.32(a) provided that “all

diagnostic x-ray tests, diagnostic laboratory tests, and other diagnostic tests

must be ordered by the physician who is treating the beneficiary, that is, the

physician who furnishes a consultation or treats a beneficiary for a specific

medical problem and who uses the results in the management of the

beneficiary’s specific medical problem. Tests not ordered by the physician who

is treating the beneficiary are not reasonable and necessary.”

                            The Kickback Conspiracy

      2.     From in or around April 2017, and continuing through in or around

May 2021, in the District of New Jersey and elsewhere, the defendant,

                                 ERIE AGUSTIN,

did knowingly and intentionally combine, conspire, confederate, and agree with

Co-Conspirator 1 and others to:

             a.    violate 42 U.S.C. § 1320a-7b(b)(1)(B), by knowingly and

willfully soliciting and receiving any remuneration, specifically, kickbacks and

bribes, directly and indirectly, overtly and covertly, in cash and in kind, in return

for purchasing, leasing, ordering, and arranging for and recommending

purchasing, leasing, and ordering any good, facility, service, and item for which

payment may be made in whole and in part by a Federal health care program,

that is, Medicare; and


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            b.    violate 42 U.S.C. § 1320a-7b(b)(2)(B), by knowingly and

willfully offering and paying any remuneration, specifically, kickbacks and

bribes, directly and indirectly, overtly and covertly, in cash and in kind, to a

person to induce such person to purchase, lease, order, and arrange for and

recommend purchasing, leasing, and ordering any good, facility, service, and

item for which payment may be made in whole and in part under a Federal health

care program, that is, Medicare.

                            Goal of the Conspiracy

      3.    It was the goal of the conspiracy for defendant ERIE AGUSTIN, Co-

Conspirator 1, and others to unlawfully enrich themselves and others by, among

other things: (a) soliciting, receiving, offering, and paying kickbacks and bribes

in exchange for ordering, and arranging for the ordering of, laboratory tests,

including genetic tests, for Medicare beneficiaries; (b) submitting and causing

the submission of false and fraudulent claims to Medicare for services that were

ordered and procured through illegal kickbacks and bribes, not medically

necessary, ineligible for reimbursement, and not provided as represented;

(c) concealing the submission of false and fraudulent claims to Medicare and the

receipt and transfer of the proceeds of the fraud; and (d) diverting proceeds of

the fraud for their personal use and benefit, for the use and benefit of others,

and to further the fraud.




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                    Manner and Means of the Conspiracy

      4.    The manner and means by which defendant ERIE AGUSTIN, Co-

Conspirator 1, and their co-conspirators sought to accomplish the goal of the

conspiracy included, among other things, the following:

            a.    Defendant ERIE AGUSTIN caused to be submitted a Medicare

enrollment application in which he certified that he would abide by all applicable

Medicare laws, regulations, and program instructions, and that he would not

knowingly present or cause to be presented false or fraudulent claims to

Medicare, including claims that were procured through the payment or receipt

of kickbacks and bribes.

            b.    Defendant ERIE AGUSTIN solicited and received illegal

kickbacks and bribes from Co-Conspirator 1 in exchange for ordering, and

arranging for the ordering of, laboratory testing, including genetic testing, for

patients at defendant ERIE AGUSTIN’s medical practice in New York.            The

laboratory tests that defendant ERIE AGUSTIN ordered and arranged in

exchange for the illegal kickbacks and bribes were billed to Medicare by

Laboratory Company 1 and Laboratory Company 2.

            c.    Defendant ERIE AGUSTIN, Co-Conspirator 1, and others

caused Laboratory Company 1 to submit claims to Medicare for genetic tests that

were ordered and arranged through illegal kickbacks and bribes, not medically

necessary, ineligible for reimbursement, and not provided as represented. These

tests were performed by Laboratory Company 3 in New Jersey pursuant to a

reference agreement with Laboratory Company 1.


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            d.    Defendant ERIE AGUSTIN and Co-Conspirator 1 concealed

and disguised the scheme by, among other things, paying and receiving illegal

kickbacks and bribes in cash.

            e.    Defendant ERIE AGUSTIN, Co-Conspirator 1, and others

caused Laboratory Company 1 and Laboratory Company 2 to submit in excess

of approximately $7.1 million in false and fraudulent claims to Medicare for

laboratory tests, including cancer genetic tests, that were ordered and procured

through illegal kickbacks and bribes, not medically necessary, ineligible for

reimbursement, and not provided as represented.       Medicare paid Laboratory

Company 1 and Laboratory Company 2 approximately $461,719 based on these

false and fraudulent claims.

                                  Overt Acts

      5.    In furtherance of the conspiracy and to accomplish its goal, at least

one of the conspirators committed and caused the commission of one or more of

the following acts in the District of New Jersey and elsewhere:

            a.    On or about October 17, 2019, defendant ERIE AGUSTIN

signed a cancer genetic testing laboratory requisition form for Medicare

Beneficiary 1.

            b.    On or about October 30, 2019, Laboratory Company 3, located

in New Jersey, performed a cancer genetic test ordered by defendant ERIE

AGUSTIN on a specimen collected from Medicare Beneficiary 1, which Laboratory

Company 1 billed to Medicare.




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            c.    On or about January 11, 2020, defendant ERIE AGUSTIN

signed a cancer genetic testing laboratory requisition form for Medicare

Beneficiary 2.

            d.    On or about February 1, 2020, Laboratory Company 3,

located in New Jersey, performed a cancer genetic test ordered by defendant

ERIE AGUSTIN on a specimen collected from Medicare Beneficiary 2, which

Laboratory Company 1 billed to Medicare.

      All in violation of Title 18, United States Code, Section 371.




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                         FORFEITURE ALLEGATIONS

      1.    The allegations contained in this Information are realleged here for

the purpose of alleging forfeiture against defendant ERIE AGUSTIN.

      2.    Pursuant to Title 18, United States Code, Section 982(a)(7), upon

being convicted of the offense charged in this Information, defendant ERIE

AGUSTIN shall forfeit to the United States any property, real or personal, that

constitutes or is derived, directly or indirectly, from gross proceeds traceable to

the commission of the offense.

                          Substitute Assets Provision

      3.    If any of the above-described forfeitable property, as a result of any

act or omission of the defendant:

      a.    cannot be located upon the exercise of due diligence;

      b.    has been transferred or sold to, or deposited with, a third person;

      c.    has been placed beyond the jurisdiction of the Court;

      d.    has been substantially diminished in value; or

      e.    has been commingled with other property which cannot be

            subdivided without difficulty,




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it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), as incorporated by Title 18, United States Code, Section 982(b),

to seek forfeiture of any other property of defendant ERIE AGUSTIN up to the

value of the forfeitable property described above.




__________________________
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United States Attorney               Chief
                                     Criminal Division, Fraud Section
                                     United States Department of Justice

                                     _________________________________
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